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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

DONNA CURLING, ET AL.,
Plaintiffs,
                                               Civil Action No. 1:17-CV-2989-AT
v.

BRAD RAFFENSPERGER, ET AL.,
Defendants.

    PLAINTIFFS’ NOTICE OF FILING EXPERT STATEMENTS IN
 SUPPORT OF UNSEALING THE REDACTED HALDERMAN REPORT
                        (DKT. 1639)

        Plaintiffs jointly file the following expert statements that were submitted to

the Court on May 16, 2023, in response to the Court’s May 5, 2023 request relating

to Plaintiffs’ position regarding unsealing the July 2021 Expert Report prepared by

Dr. Alex Halderman (with support from Dr. Drew Springall):

      May 11, 2023 Statement by Computer Security Experts, “Unsealing the
       Halderman report would be Responsible Vulnerability Disclosure;”

      May 12, 2023 Declaration of Dr. Andrew A. Appel;

      May 15, 2023 Statement of Gregory A. Miller, OSET Institute, Inc.;

      May 15, 2023 Declaration of Kevin Skoglund;

      May 15, 2023 Declaration of Dr. Richard DeMillo;

      May 15, 2023 Declaration of Dr. Duncan A. Buell; and

      May 16, 2023 Declaration of Dr. J. Alex Halderman.
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     Respectfully submitted this 5th day of June, 2023.

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/s/ Bruce P. Brown                          /s/ Robert A. McGuire, III
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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
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DONNA CURLING, ET AL.,
Plaintiffs,
                                            Civil Action No. 1:17-CV-2989-AT
v.

BRAD RAFFENSPERGER, ET AL.,
Defendants.

                     CERTIFICATE OF COMPLIANCE

      Pursuant to LR 7.1(D), I hereby certify that the foregoing document has been

prepared in accordance with the font type and margin requirements of LR 5.1, using

font type of Times New Roman and a point size of 14.

                                            /s/ David D. Cross
                                            David D. Cross




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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
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 DONNA CURLING, ET AL.,
 Plaintiffs,
                                               Civil Action No. 1:17-CV-2989-AT
 v.

 BRAD RAFFENSPERGER, ET AL.,
 Defendants.

                          CERTIFICATE OF SERVICE

      I hereby certify that on June 5, 2023, a copy of the foregoing was

electronically filed with the Clerk of Court using the CM/ECF system, which will

automatically send notification of such filing to all attorneys of record.

                                               /s/ David D. Cross
                                               David D. Cross




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